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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANTHONY LEE (#Y48589),                       )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 25-cv-01772
                                             )
WEXFORD HEALTH SOURCES, INC.,                )       Honorable Judge Jorge L. Alonso
et al.                                       )
                                             )
                      Defendants.            )


   DEFENDANTS, DR. EILEEN COUTURE, HELEN BRUCKNER AND WEXFORD
  HEALTH SOURCES, INC.’S UNOPPOSED MOTION FOR EXTENSION OF TIME
 TO FILE THEIR ANSWER OR INITIAL PLEADING TO PLAINTIFF’S COMPLAINT

       NOW COMES Defendants, DR. EILEEN COUTURE, HELEN BRUCKNER and

WEXFORD HEALTH SOURCES, INC., by and through their counsel, CONNOLLY KRAUSE,

LLC and for their motion for extension of time to file answers or initial pleadings to Plaintiff’s

complaint (ECF #1) hereby states the following:

       1.      On March 12, 2025, Defendant, HELEN BRUCKNER was served with summons

and Plaintiff’s complaint. (ECF #15). Ms. Bruckner’s answer to the complaint is thereby due on

or before April 2, 2025, pursuant to Federal Rule of Civil Procedure 12(a)(1)(A)(i).

       2.      On March 18, 2025, Defendant, WEXFORD HEALTH SOURCES, INC. was

served with summons and Plaintiff’s complaint. (ECF #16). Wexford’s answer to the complaint is

thereby due on or before April 4, 2025, pursuant to Federal Rule of Civil Procedure 12(a)(1)(A)(i).

       3.      On March 24, 2025, Defendant, DR. EILEEN COUTURE was served with

summons and Plaintiff’s complaint. (ECF #23). Dr. Couture’s answer to the complaint is thereby

due on or before April 14, 2025, pursuant to Federal Rule of Civil Procedure 12(a)(1)(A)(i).
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        4.      On March 21, 2024, counsel for Defendants contacted counsel for Plaintiff for

introduction and to request an extension of time to answer the complaint on behalf of these

Defendants pursuant to Local Rule 37.2. The requested extension would allow counsel time to

review the complaint and the associated medical records with their clients prior to drafting their

initial pleadings.

        5.      Therefore, Defendants are requesting until May 5, 2025, to file their answers or

initial pleadings to Plaintiff’s complaint. Plaintiff’s counsel has no objection to this request.

        6.      The instant motion is not being made for any improper purpose or delay. Nor will

any party suffer any prejudice if this Court grants the request.

        WHEREFORE, Defendants, DR. EILEEN COUTURE, HELEN BRUCKNER and

WEXFORD HEALTH SOURCES, INC. respectfully requests this Court grant their motion for a

brief extension to file their answers or initial pleadings to Plaintiff’s complaint to May 5, 2025, or

any date thereafter this Court may deem more appropriate.

                                               Respectfully submitted,

                                               CONNOLLY KRAUSE LLC


                                               By:    /s/ Corinne M. Cundiff
                                               One of Attorneys for Defendants,
                                               HELEN BRUCKNER and WEXFORD HEALTH
                                               SOURCES, INC.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 31, 2025, I caused the foregoing document to be filed
electronically with the Clerk of the Court through ECF and to be served upon all counsel of record
by filing the same with the CM/ECF system.

                                             By:    /s/ Corinne M. Cundiff
